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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: MOVEIT CUSTOMER DATA                          MDL No. 1:23-md-03083-ADB-PGL
 SECURITY BREACH LITIGATION

 This Document Relates To:                            AMENDED CLASS ACTION
                                                      COMPLAINT

 DAWN M. BRIDA, individually and on                   Civil Action No. 1:23-cv-12202-ADB
 behalf of all others similarly situated,

                      Plaintiff,

 v.

 PROGRESS SOFTWARE CORPORATION,

                     Defendant.


       Dawn M. Brida (“Plaintiff”) brings this Class Action Complaint against Progress Software

Corporation (“PSC” or “Defendant”), individually and on behalf of all others similarly situated

(“Class Members”), and alleges upon personal knowledge as to her own actions and her counsel’s

investigations, and upon information and belief as to all other matters, as follows:

                                   NATURE OF THE ACTION

       1.         Upon information and belief, Plaintiff’s and Class Members’ Private Information

was compromised as a result of a security vulnerability in the MOVEit software, as alleged in

Plaintiffs’ Omnibus Set of Additional Pleading Facts (ECF No. 908) and incorporated and re-

alleged herein.

       2.         Plaintiff incorporates the allegations contained in the Omnibus Set of Additional

Pleading Facts (ECF No. 908) in their entirety.



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       3.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personally identifiable information (“PII”) and private health information (“PHI”)

including, but not limited to, Plaintiff’s and Class Members’ names, address, Social Security

numbers, birthdates, certain medical and treatment records, and other sensitive information.

Collectively, PII and PHI are referred to as Private Information.

       4.      Defendant PSC is a Massachusetts based software company that offers a wide range

of software products and services to corporate and governmental entities throughout the United

States and the world, including cloud hosting and secure file transfer services such as MOVEit.

       5.      The Massachusetts Executive Office of Health and Human Services (“EOHHS”) is

a state agency that operates the following relevant agencies and programs: MassHealth, the State

Supplement Program, the Executive Office of Elder Affairs, and Family Resource Centers

(hereafter collectively referred to as the “MassHealth Programs”).

       6.      The University of Massachusetts Chan Medical School Foundation, Inc. (“UMass

Chan”) is a non-profit medical school and hospital providing services to patients and

administrative services to the MassHealth Programs for the EOHHS. UMass Chan utilized

Defendant PSC’s MOVEit software to transfer Plaintiff’s and Class Members’ Private

Information.

       7.      Defendant possessed and controlled PII and PHI of tens-of-thousands patients

treated at UMass Chan.

       8.      According to UMass Chan, it was affected by a Data Breach that “was part of a

world-wide data security incident involving a software program called MOVEit. MOVEit is used

by thousands of organizations around the world to transfer files. This MOVEit incident has

impacted state and federal government agencies, financial services firms, pension funds, and many

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other types of companies and not-for-profit organizations. MOVEit was used to transfer flies as

part of the services provided to” various Massachusetts state agency programs.1

         9.     UMass Chan further explained that “[o]n June 1, 2023, UMass Chan learned that a

security flaw in MOVEit allowed unauthorized access to some of the files that were shared . . .

between May 27, 2023, and May 28, 2023.” While UMass Chan did not announce who was

affected by the Data Breach, it stated that “the data breach may have impacted sensitive personal

and financial information, [including names, contact information, and health billing records.]” The

data impacted included “your name and your Social Security Number, Date of Birth, Financial or

Bank Account Number including password and Routing Number, Medicare/Medicaid Number,

and Health Insurance Policy or Subscriber Number.”2

         10.    During business operations, Defendant acquired, collected, utilized, and derived a

benefit from Plaintiff’s and Class Members’ Private Information. Therefore, Defendant owed and

otherwise assumed statutory, regulatory, contractual, and common law duties and obligations,

including to keep Plaintiff’s and Class Members’ Private Information confidential, safe, secure,

and protected from the type of unauthorized access, disclosure, and theft that occurred in the Data

Breach described below.

         11.    Despite its duties to Plaintiff and Class Members related to and arising from its

cloud hosting and secure file transfer services and applications involving MOVEit, PSC stored,

maintained, and/or hosted Plaintiff’s and Class Members’ Private Information on its MOVEit

transfer services software that was negligently and/or recklessly configured and maintained so as

to contain security vulnerabilities that resulted in multiple breaches of its network and systems or


   1
       See August 14, 2023, notice of breach letter, attached as Exhibit A.
   2
       Id.
                                                  3
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of its customers’ networks and systems, including UMass Chan’s networks and systems. These

security vulnerabilities existed as far back as 2021. As a result of the breach, unauthorized third-

party cybercriminals gained access to and obtained Plaintiff’s and Class Members’ Personal

Information.

        12.     On or about May 31, 2023, PSC posted a notice on its website stating that it had

found an SQL injection vulnerability in its MOVEit Transfer application dating as far back as 2021

that allowed an unauthorized third party to access Plaintiff’s and Class Member’s Private

Information (the “Data Breach”).3 While PSC has not sent direct notice to the millions of

individuals such as Plaintiff impacted by the Data Breach, Plaintiff did receive a breach

notification from UMass Chan.

        13.     Plaintiff brings this class action lawsuit on behalf of herself and those similarly

situated to address Defendant’s inadequate safeguarding of Class Members’ Private Information

that it collected and maintained; for failing to provide adequate notice to Plaintiff and other Class

Members that their information had been subject to the unauthorized access of an unknown

criminal third party; and for failing to timely identify precisely what specific type of information

was accessed.

        14.     Defendant maintained the Private Information of millions of individuals in a

negligent manner. In particular, the Private Information was maintained on computer systems and

networks that utilized MOVEit, a software program which contained security vulnerabilities.




   3
       MOVEit Transfer Critical Vulnerability (May 2023) (CVE-2023-34362), Progress
Community, https://community.progress.com/s/article/MOVEit-Transfer-Critical-Vulnerability-
31May2023 (last visited June 22, 2023); see also Sean Lyngaas, Exclusive: US Government
Agencies     Hit     in     Global      Cyberattack,     CNN       (June      15,   2023),
https://www.cnn.com/2023/06/15/politics/us-government-hit-cybeattack/index.html.
                                                 4
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These security vulnerabilities led to dozens of cyberattacks, including the cyberattack that resulted

in the theft of Plaintiff’s Private Information.

         15.   The mechanism of the Data Breach and potential for improper disclosure of

Plaintiff’s and Class Members’ Private Information was a known risk to Defendant because other

file transfer programs such as the Accellion file transfer application and Fortra’s GoAnywhere

file-transfer software had previously been subjected to criminal hacking, and thus Defendant was

on notice that failing to take appropriate design and protective measures would expose and increase

the risk that the Private Information could be compromised and stolen.

         16.   The cyberattack at issue was carried out by the well-known Russian cybergang,

Clop.

         17.   Hackers such as Clop can and do offer for sale unencrypted, unredacted Private

Information to criminals. The exposed Private Information of Plaintiff and Class Members can,

and likely will, be sold repeatedly on the dark web.

         18.   Plaintiff and Class Members now face a current and ongoing risk of identity theft,

which is heightened here by the loss of Social Security numbers – the gold prize for identity

thieves.

         19.   This Private Information was compromised due to Defendant’s negligent and/or

careless acts and omissions and the failure to protect the Private Information of Plaintiff and Class

Members.

         20.   When PSC’s customers use MOVEit Transfer application, they entrust PSC with

their confidential files and information, including Plaintiff and Class Members’ Private

Information, and PSC accepts responsibility for securely maintaining such Private Information.



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        21.     Defendant has not made any assurances that they have adequately enhanced their

data security practices to sufficiently safeguard from a similar vulnerability in the MOVEit

Transfer Application in the future.

        22.     While many details of the Data Breach remain in the exclusive control of

Defendant, upon information and belief, Defendant breached its duties and obligations by failing,

in one or more of the following ways: (i) failing to design, test, implement, monitor, and maintain

reasonable software and/or network safeguards against foreseeable threats; (ii) failing to design,

test, implement, and maintain reasonable data retention policies; (iii) failing to adequately train

staff on data security; (iv) failing to comply with industry-standard data security practices; (v)

failing to warn Plaintiff and Class Members of Defendant’s inadequate data security practices; (vi)

failing to encrypt or adequately encrypt Plaintiff’s and Class Members’ Private Information; (vii)

failing to recognize or detect that Defendant’s network had been compromised and accessed in a

timely manner to mitigate the harm; (viii) failing to utilize widely available software able to detect

and prevent this type of attack, and (ix) otherwise failing to secure the software and hardware using

reasonable and effective data security procedures free of foreseeable vulnerabilities and data

security incidents.

        23.     As a result of Defendant’s unreasonable and inadequate data security practices that

resulted in the Data Breach, Plaintiff and Class Members are at a current and ongoing risk of

identity theft and have suffered numerous actual and concrete injuries and damages, including: (i)

invasion of privacy; (ii) financial “out of pocket” costs incurred mitigating the materialized risk

and imminent threat of identity theft; (iii) loss of time and loss of productivity incurred mitigating

the materialized risk and imminent threat of identity theft risk; (iv) financial “out of pocket” costs

incurred due to actual identity theft; (v) loss of time incurred due to actual identity theft; (vi) loss

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of time due to increased spam and targeted marketing emails; (vii) diminution of value of their

Private Information; (viii) anxiety, annoyance, and nuisance; and (ix) the continued risk to their

Private Information, which remains in the control of Defendant, and which is subject to further

breaches, as long as Defendant fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

         24.    Plaintiff seeks to remedy these harms on behalf of herself and all similarly situated

individuals whose Private Information was accessed during the Data Breach. Plaintiff seeks

remedies including, but not limited to, compensatory damages, reimbursement of out-of-pocket

costs, future costs of identity theft monitoring, injunctive relief including improvements to

Defendant’s data security systems, and future annual audits.

         25.    Accordingly, Plaintiff brings this action against Defendant seeking redress for their

unlawful conduct and asserting claims for: (i) negligence; (ii) breach of third-party beneficiary

contract; (iii) negligence per se; (iv) unjust enrichment; (v) violation of Massachusetts General

Laws Chapter 93A4; (vi) invasion of privacy; and (vii) declaratory and injunctive relief.

                                             PARTIES

         26.    Plaintiff Dawn M. Brida is, and at all times mentioned herein was, an individual

citizen of the State of Massachusetts residing in Chicopee. Ms. Dawn has received and currently

receives disability services from MassHealth and the Massachusetts State Supplemental Program.

         27.    Defendant Progress Software Corporation is a for profit corporation organized

under the laws of the State of Delaware with its principal place of business located at 15 Wayside

Road, Suite 4, Burlington, Massachusetts 01803. Service of process is proper on Corporation




   4
       Plaintiff will serve notice as required under M.G.L. ch. 93A.
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Service Company as agent located at 84 State Street, Boston, Massachusetts 02109.

                                  JURISDICTION AND VENUE

       28.       This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of Class Members exceeds 100, many of whom, including Plaintiff,

have different citizenship from Defendant. Thus, minimal diversity exists under 28 U.S.C. §

1332(d)(2)(A).

       29.       This Court has personal jurisdiction over Defendant because it conducts substantial

business in this jurisdiction and because Plaintiff’s claims arise out of or relate to Defendant’s

contacts with, and conduct within, this District.

       30.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District. Moreover,

Defendant is based in this District, Defendant PSC marketed, sold, and maintained the MOVEit

transfer application in this District, and the harm caused to Plaintiff and Class Members emanated

from this District.

                                   FACTUAL ALLEGATIONS

PSC’s Business

       31.       PSC, which is based in Burlington, Massachusetts, is a software company that

offers a wide range of products and services to government agencies and corporate entities across

the United States and around the world, including its file transfer software application MOVEit.




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         32.   MOVEit is a “[m]anaged File Transfer and automation software that guarantees the

security of sensitive files both at-rest and in-transit, ensures reliable business processes and

addresses data security compliance requirements.”5

         33.   As a condition of receiving secure file transfer services, PSC requires that its

government and corporate customers entrust it and its MOVEit transfer software application with

highly sensitive Private Information belonging to Plaintiff and Class Members.

         34.   Because of the highly sensitive nature of the Private Information that PSC acquires,

maintains, and transfers, PSC “guarantees the security of sensitive files,”6 and promises, among

other things, to: keep customers’ files private; comply with industry standards related to data

security and maintenance of its customers’ files and the Private Information contained therein;

only disclose the sensitive information for business purposes and reasons related to the services it

provides; and provide adequate notice to individuals if their Private Information is disclosed

without authorization.

         35.   By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, PSC assumed legal and equitable duties and knew or should have

known that it was responsible for ensuring the security of Plaintiff’s and Class Members’ Private

Information to protect it from unauthorized disclosure and exfiltration.

         36.   Plaintiff and Class Members relied on PSC to keep their Private Information

confidential and securely maintained and to only make authorized disclosures of this information,

which PSC failed to do.


   5
        Progress Brochure, available at https://d117h1jjiq768j.cloudfront.net/docs/default-
source/default-document-library/progress-corporate-brochure-2023-rgb.pdf?sfvrsn=a0b1f671_3
(last visited June 22, 2023).
   6
       Id.
                                                 9
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The Massachusetts Executive Office of Health and Human Services

       37.     The Massachusetts Executive Office of Health and Human Services (“EOHHS”) is

a state agency that operates the following relevant agencies and programs: MassHealth, the State

Supplement Program, the Executive Office of Elder Affairs, and Family Resource Centers

(hereafter collectively referred to as the “MassHealth Programs”).

       38.     MassHealth provides health benefits and help paying for them to qualifying

children, families, seniors, and people with disabilities living in Massachusetts.                The

Massachusetts State Supplement Program (“SSP”) is a state cash benefit program that provides

monthly Supplemental Security Income (“SSI”) payments to certain eligible, low-income

individuals who are 65 or older, blind, or disabled.

       39.     As a condition of receiving benefits from the MassHealth Programs, EOHHS

requires that individuals entrust it with highly sensitive Private Information.

The University of Massachusetts Chan Medical School

       40.     UMass Chan is a Massachusetts based research hospital system. UMass Chan

utilized Defendant PSC’s MOVEit software to transfer Personal Information, including PII and

PHI of Plaintiff and Class Members. UMass Chan provides services to the Massachusetts

Executive Office of Health and Human Services (“EOHHS”). Agencies and programs within

EOHHS include MassHealth, the State Supplement Program, the Executive Office of Elder

Affairs, and Family Resource Centers.

       41.     As a condition of receiving health services at UMass Chan, it requires that

individuals entrust it with highly sensitive Private Information.

The Data Breach

       42.     On May 31, 2023, PSC reported a vulnerability in MOVEit Transfer and MOVEit

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Cloud (CVE-2023-34362) that could lead to escalated privileges and potential unauthorized access

to the environment. PSC purportedly launched an investigation, alerted MOVEit customers of the

issue, and provided mitigation steps.7

         43.    PSC applied additional patches on June 9 and June 16 to purportedly address other

vulnerabilities that were discovered.8

         44.    The Russian cyber gang Clop took responsibility for the attack—which began on

May 27, 2023—and began attempts to ransom and exploit data accessed from MOVEit.9

         45.    UMass Chan was one of the entities whose data was accessed and stolen, which

included PII and PHI of tens-of-thousands of individuals, including Plaintiff and Class Members.

         46.    UMass Chan began informing its students, employees, and patients, including

Plaintiff and Class Members, of the Data Breach on or around August 14, 2023.

         47.    UMass Chan found that “the files that may have been subject to unauthorized

acquisition as a result of the MOVEit security flaw . . . contained your name and your Social

Security Number, Date of Birth, Financial or Bank Account Number including password and

Routing Number, Medicare/Medicaid Number, and Health Insurance Policy or Subscriber

Number.”10

         48.    According to the breach notification letter Plaintiff received, the Breach “was part

of a world-wide data security incident involving a software program called MOVEit. MOVEit is

used by thousands of organizations around the world to transfer files. This MOVEit incident has


   7
       https://www.progress.com/security/moveit-transfer-and-moveit-cloud-vulnerability.
   8
       Id.
   9
     https://www.bleepingcomputer.com/news/security/clop-ransomware-gang-starts-extorting-
moveit-data-theft-victims/.
   10
        Exhibit A.
                                                 11
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impacted state and federal government agencies, financial services firms, pension funds, and many

other types of companies and not-for-profit organizations. MOVEit was used to transfer flies as

part of the services provided to” various Massachusetts state agency programs.11

         49.   Defendant negligently maintained Plaintiff’s and Class Members’ Private

Information, which allowed unauthorized cybercriminals to access and exfiltrate the Private

Information through the Data Breach, including, but not limited to, names, Social Security

Numbers, Dates of Birth, Financial or Bank Account Numbers including passwords and Routing

Numbers, Medicare/Medicaid Numbers, and Health Insurance Policy or Subscriber Numbers.

         50.   Defendant had obligations created by contract, industry standards, common law,

and representations made to Plaintiff and Class Members to keep Plaintiff’s and Class Members’

Private Information confidential and to protect them from unauthorized access and disclosure.

         51.   Plaintiff and Class Members permitted their Private Information to be provided to

Defendant with the reasonable expectation and understanding that Defendant would comply with

its obligations to keep said Private Information confidential and secure from unauthorized access

and timely notify Class Members of any security breaches.

         52.   Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks in recent years, including recent similar attacks against secure

file transfer companies such as Accellion and Fortra by the same Russian cyber gang, Clop.12



   11
        Id.
   12
        See Bill Toulas, Fortra Shares Findings on GoAnywhere MFT Zero-Day Attacks,
BleepingComputer (Apr. 19, 2023), https://www.bleepingcomputer.com/news/security/fortra-
shares-findings-on-goanywhere-mft-zero-day-attacks/; see also Ionut Ilascu, Global Accellion
Data Breaches Linked to Clop Ransomware Gang, BleepingComputer (Feb. 22, 2021),
https://www.bleepingcomputer.com/news/security/global-accellion-data-breaches-linked-to-
clop-ransomware-gang/.
                                                 12
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       53.     Therefore, because of the type of data and Private Information maintained,

Defendant knew or should have known that their systems and the records would be targeted by

cybercriminals.

Plaintiff Brida’s Experience

       54.     Plaintiff Brida receives disability benefits from MassHealth Programs, which are

administered by UMass Chan.

       55.     PSC failed to send direct notices of the Data Breach to individuals affected by the

Data Breach. However, in or around mid-August 2023 Plaintiff received a letter from UMass Chan

dated August 14, 2023, informing her about the Data Breach and stating that her PII and PHI were

affected.

       56.     Specifically, the notice letter informed Plaintiff that the compromised files

contained her “name, . . . Social Security Number, Date of Birth, Financial or Bank Account

Number including password and Routing Number, Medicare/Medicaid Number, and Health

Insurance Policy or Subscriber Number.”

       57.     Plaintiff is very careful about sharing her sensitive Private Information. Plaintiff

has never knowingly transmitted unencrypted sensitive Private Information over the internet or

any other unsecured source.

       58.     Plaintiff stores any documents containing her sensitive Private Information in a safe

and secure location or destroys such documents. Moreover, Plaintiff diligently chooses unique

usernames and passwords for her various online accounts in an effort to safeguard and protect her

PII and PHI.

       59.     To the best of Plaintiff’s knowledge, she has never received another data breach

notice letter or had her information compromised in a similar data breach.

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          60.   Plaintiff discovered fraudulent charges on her debit card soon after the Data Breach

occurred. These charges came from a company in a different state than where Plaintiff lives.

Plaintiff contacted her bank at the time, TD Bank, to close the card.

          61.   Worried about the fraud, Plaintiff decided to switch to a local bank instead:

Florence Bank. Plaintiff keeps her cards with Florence Bank locked in order to protect herself from

continuing fraud. Although this measure has prevented further fraud on her accounts, it forces

Plaintiff to adopt a time-consuming process of unlocking her cards any time she wants to use them,

then relocking them again.

          62.   Additionally, Plaintiff began receiving an influx of spam emails and calls following

the Data Breach. Before the Data Breach, Plaintiff received perhaps 2-3 spam calls per day and

received spam emails only in her spam folder. After the Data Breach, Plaintiff received and

continues to receive 50-100 spam calls a day, and 10-50 spam emails an hour directly to her inbox.

Plaintiff reports these calls and blocks the numbers, but the volume of incoming spam has not

abated.

          63.   As a result of the Data Breach, Plaintiff has and will continue to spend time trying

to mitigate the consequences of the Data Breach. To date, she has spent 40-50 hours responding

to the breach. This total includes time spent verifying the legitimacy of communications related to

the Data Breach, and self-monitoring her accounts and credit reports to ensure no fraudulent

activity has occurred. This time has been lost forever and cannot be recaptured.

          64.   Plaintiff signed up for credit monitoring in order to protect herself and her data after

receiving notice of the Data Breach. She pays $15 per month for credit card and information

monitoring through Discover. The service frequently alerts her to fraudulent credit inquiries and

credit-card applications.

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       65.     The fraudulent credit inquiries have caused Plaintiff’s credit score to decrease since

the Data Breach. Plaintiff had worked hard to build up her credit prior to the breach occurring and

now must take additional steps to recover from a decrease she did not cause.

       66.     The harm caused to Plaintiff cannot be undone.

       67.     Plaintiff further suffered actual injury in the form of damages to and diminution in

the value of her Private Information—a form of intangible property that Plaintiff entrusted to

Defendant, which was compromised in and as a result of the Data Breach.

       68.     Plaintiff suffered lost time, annoyance, interference, and inconvenience because of

the Data Breach and has anxiety and emotional distress due to a heightened concern for the loss of

her privacy, PII, and the loss of sensitive PHI.

       69.     Plaintiff has suffered imminent and impending injury arising from the present and

ongoing risk of fraud, identity theft, and misuse resulting from her Private Information being

placed in the hands of cybercriminals.

       70.     Ongoing future identity theft monitoring is reasonable and necessary and such

services will include future costs and expenses for the remainder of Plaintiff’s and the Class

Members’ lives.

       71.     Plaintiff has a continuing interest in ensuring that her Private Information, which,

upon information and belief, remains in Defendant’s control, is protected, and safeguarded from

future breaches.

The Data Breach Was Foreseeable

       72.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII and PHI of Plaintiff and Class Members and the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

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specifically, the significant costs that would be imposed on Plaintiff and Class Members because

of a breach.

        73.    Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on their network, amounting to potentially millions of individuals’

detailed, personal information and, thus, the significant number of individuals who would be

harmed by the exposure of the unencrypted data.

        74.    As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.”13

        75.    Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches preceding the date of the breach.

        76.    In 2022, 1,774 data breaches occurred, affecting approximately 392,000,000

victims.14

        77.    In light of the recent high profile cybersecurity incidents at other file transfer and

storage companies, including Accellion and Fortra, Defendant knew or should have known that its

electronic records would be targeted by cybercriminals.

        78.    Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets so they

are aware of, and prepared for, a potential attack.15



   13
        See How to Protect Your Networks from RANSOMWARE, at 3, available at
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view (last
accessed June 22, 2023).
   14
          See       2022       Data      Breach      Annual        Report,         available       at
https://www.idtheftcenter.org/publication/2022-data-breach-report/.
   15
         FBI, Secret Service Warn of Targeted, Law360 (Nov. 18,2019),
https://www.law360.com/articles/1220974/fbisecret-service-warn-of-targeted-ransomware.
                                                 16
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          79.   Therefore, the increase in such attacks, and the attendant risk of future attacks, were

widely known to the public and to anyone in Defendant’s industry, including Defendant.

Value of PII and PHI

          80.   Individuals’ PII and PHI remains of high value to criminals, as evidenced by the

prices offered through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200.16 According to the Dark Web Price Index for

2021, payment card details for an account balance up to $1,000 have an average market value of

$150, credit card details with an account balance up to $5,000 have an average market value of

$240, stolen online banking logins with a minimum of $100 on the account have an average market

value of $40, and stolen online banking logins with a minimum of $2,000 on the account have an

average market value of $120.17 Criminals can also purchase access to entire company data

breaches from $900 to $4,500.18

          81.   Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts.

          82.   The PII and PHI at issue here data demands a much higher price on the black

market. Martin Walter, senior director at cybersecurity firm RedSeal, explained, “Compared to



     16
      Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends,
Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/. (last accessed June 22, 2023).
     17
        Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at:
https://www.privacyaffairs.com/dark-web-price-index-2021/ (last accessed June. 22, 2023).
18
  In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/.
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credit card information, personally identifiable information…[is] worth more than 10x on the black

market.”19

         83.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         84.     Importantly, the fraudulent activity resulting from the Data Breach may not come

to light for years.

         85.     There is also a robust legitimate market for the type of sensitive information at issue

here. Marketing firms utilize personal information to target potential customers, and an entire

economy exists related to the value of personal data.

         86.     Moreover, there may be a time lag between when harm occurs versus when it is

discovered and also between when PII and PHI is stolen and when it is used. According to the U.S.

Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm.20

         87.     As such, on-going future monitoring of financial and personal records is reasonable

and necessary.

Defendant Failed to Properly Protect Plaintiff’s and Class Members’ Private Information

         88.     Defendant could have prevented this Data Breach by properly testing, monitoring,


    19
       Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers,          IT        World,       (Feb.        6,        2015),      available        at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed June. 22, 2023).
    20
        Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed June 22, 2023).
                                                   18
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auditing, securing, and encrypting the systems containing the Private Information of Plaintiff and

Class Members.

        89.    Defendant’s negligence in not safeguarding the PII and PHI of Plaintiff and Class

Members is exacerbated by the repeated warnings and alerts directed to companies like Defendant

to protect and secure sensitive data they maintain.

        90.    Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII and PHI of Plaintiff and

Class Members from being compromised.

        91.    The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”21

        92.    The ramifications of Defendant’s failure to keep secure the PII and PHI of Plaintiff

and Class Members are long lasting and severe. Once PII and PHI is stolen, fraudulent use of that

information and damage to victims may continue for years.

        93.    To prevent and detect unauthorized cyberattacks, Defendant could and should have

implemented, as recommended by the United States Government, the following measures:

                       Implement an awareness and training program. Because end users are

   21
       See generally Fighting Identity Theft With the Red Flags Rule: A How-To Guide for
Business, FED. TRADE COMM., https://www.ftc.gov/business-guidance/resources/fighting-
identity-theft-red-flags-rule-how-guide-business (last accessed June 22, 2023).
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             targets, employees and individuals should be aware of the threat of
             ransomware and how it is delivered.

            Enable strong spam filters to prevent phishing emails from reaching the
             end users and authenticate inbound email using technologies like Sender
             Policy Framework (SPF), Domain Message Authentication Reporting and
             Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
             prevent email spoofing.

            Scan all incoming and outgoing emails to detect threats and filter
             executable files from reaching end users.

            Configure firewalls to block access to known malicious IP addresses.

            Patch operating systems, software, and firmware on devices. Consider
             using a centralized patch management system.

            Set anti-virus and anti-malware programs to conduct regular scans
             automatically.

            Manage the use of privileged accounts based on the principle of least
             privilege: no users should be assigned administrative access unless
             absolutely needed; and those with a need for administrator accounts should
             only use them when necessary.

            Configure access controls—including file, directory, and network share
             permissions—with least privilege in mind. If a user only needs to read
             specific files, the user should not have write access to those files,
             directories, or shares.

            Disable macro scripts from office files transmitted via email. Consider
             using Office Viewer software to open Microsoft Office files transmitted
             via email instead of full office suite applications.

            Implement Software Restriction Policies (SRP) or other controls to prevent
             programs from executing from common ransomware locations, such as
             temporary folders supporting popular Internet browsers or
             compression/decompression          programs,         including         the
             AppData/LocalAppData folder.

            Consider disabling Remote Desktop protocol (RDP) if it is not being used.

            Use application whitelisting, which only allows systems to execute
             programs known and permitted by security policy.

            Execute operating system environments or specific programs in a
             virtualized environment.
                                    20
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                         Categorize data based on organizational value and implement physical and
                          logical separation of networks and data for different organizational units.22

         94.      To prevent and detect cyberattacks, including the cyberattack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the United

States Cybersecurity & Infrastructure Security Agency, the following measures:

              Update and patch your computer. Ensure your applications and operating systems
               (OSs) have been updated with the latest patches. Vulnerable applications and OSs are
               the target of most ransomware attacks….

              Use caution with links and when entering website addresses. Be careful when
               clicking directly on links in emails, even if the sender appears to be someone you
               know. Attempt to independently verify website addresses (e.g., contact your
               organization’s helpdesk, search the internet for the sender organization’s website or
               the topic mentioned in the email). Pay attention to the website addresses you click on,
               as well as those you enter yourself. Malicious website addresses often appear almost
               identical to legitimate sites, often using a slight variation in spelling or a different
               domain (e.g., .com instead of .net)….

              Open email attachments with caution. Be wary of opening email attachments, even
               from senders you think you know, particularly when attachments are compressed files
               or ZIP files.

              Keep your personal information safe. Check a website’s security to ensure the
               information you submit is encrypted before you provide it….

              Verify email senders. If you are unsure whether or not an email is legitimate, try to
               verify the email’s legitimacy by contacting the sender directly. Do not click on any
               links in the email. If possible, use a previous (legitimate) email to ensure the contact
               information you have for the sender is authentic before you contact them.

              Inform yourself. Keep yourself informed about recent cybersecurity threats and up
               to date on ransomware techniques. You can find information about known phishing
               attacks on the Anti-Phishing Working Group website. You may also want to sign up
               for CISA product notifications, which will alert you when a new Alert, Analysis
               Report, Bulletin, Current Activity, or Tip has been published.

              Use and maintain preventative software programs. Install antivirus software,
               firewalls, and email filters—and keep them updated—to reduce malicious network



   22
        Id. at 3-4.
                                                   21
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              traffic….23

        95.      To prevent and detect cyberattacks, including the cyberattack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the Microsoft

Threat Protection Intelligence Team, the following measures:

        Secure internet-facing assets

                           Apply latest security updates
                           Use threat and vulnerability management
                           Perform regular audit; remove privileged credentials

        Thoroughly investigate and remediate alerts

                    Prioritize and treat commodity malware infections as a potential full
                     compromise

        Include IT Pros in security discussions

                    Ensure collaboration among [security operations], [security admins], and
                     [information technology] admins to configure servers and other endpoints
                     securely

        Build credential hygiene

                    Use [multifactor authentication] or [network level authentication] and use
                     strong, randomized, just-in-time local admin passwords

        Apply principle of least-privilege

                    Monitor for adversarial activities
                    Hunt for brute force attempts
                    Monitor for cleanup of Event Logs
                    Analyze logon events

        Harden infrastructure

                    Use Windows Defender Firewall
                    Enable tamper protection

   23
      See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11,
2019), available at https://www.cisa.gov/news-events/news/protecting-against-ransomware (last
accessed June 23, 2023).
                                                   22
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                   Enable cloud-delivered protection
                   Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                    Office [Visual Basic for Applications]24

         96.    Moreover, given that Defendant was maintaining the PII and PHI of Plaintiff and

Class Members, Defendant could and should have implemented all the above measures to prevent

and detect cyberattacks.

         97.    The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII and PHI of Plaintiff and Class Members.

         98.    Because Defendant failed to properly protect and safeguard Plaintiff’s and Class

Members’ Private Information, an unauthorized criminal third party was able to access

Defendant’s network, and access Defendant’s database and system configuration files and

exfiltrate that data.

Defendant Failed to Comply with FTC Guidelines

         99.    The FTC has promulgated numerous guides for businesses which highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision making.

         100.   In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. The guidelines note that

businesses should protect the personal information that they keep; properly dispose of personal

information that is no longer needed; encrypt information stored on computer networks;



    24
      See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available
at https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/ (last accessed June 22, 2023).
                                                23
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understand their network’s vulnerabilities; and implement policies to correct any security

problems.25

        101.   The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.

        102.   The FTC further recommends that companies not maintain PII and PHI longer than

is needed for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

activity on the network; and verify that third-party service providers have implemented reasonable

security measures.

        103.   Defendant failed to properly implement basic data security practices.

        104.    Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to Plaintiff’s and Class Members’ Private Information constitutes an

unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

        105.   Defendant was always fully aware of its obligation to protect the Private

Information of Plaintiff and Class Members. Defendant was also aware of the significant

repercussions that would result from its failure to do so.

Defendant Failed to Comply with Industry Standards for Data Security




   25
      Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/business-guidance/resources/protecting-personal-information-
guide-business (last accessed June 22, 2023).

                                                 24
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         106.   In light of the numerous high-profile data breaches targeting companies like Target,

Neiman Marcus, eBay, Anthem, Deloitte, Equifax, Marriott, T-Mobile, and Capital One, and file

transfer software services such as Fortran and Accellion, Defendant was, or reasonably should

have been, aware of the importance of safeguarding PII and PHI, as well as of the foreseeable

consequences of its systems being breached.

         107.   Security standards commonly accepted among businesses that store PII and PHI

using cloud-based infrastructure include, without limitation:

            a. Maintaining a secure firewall configuration;

            b. Monitoring for suspicious or irregular traffic to servers;

            c. Monitoring for suspicious credentials used to access servers;

            d. Monitoring for suspicious or irregular activity by known users;

            e. Monitoring for suspicious or unknown users;

            f. Monitoring for suspicious or irregular server requests;

            g. Monitoring for server requests for PII and PHI;

            h. Monitoring for server requests from VPNs; and

            i. Monitoring for server requests from Tor exit nodes.

         108.   The FTC publishes guides for businesses for cybersecurity26 and protection of PII

and PHI27 which includes basic security standards applicable to all types of businesses.

         109.   The FTC recommends that businesses:


   26
       Start  with    Security:    A    Guide      for   Business,    FTC     (June     2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf. (last
accessed June 23, 2023).
    27
      Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/business-guidance/resources/protecting-personal-information-
guide-business (last accessed June 22, 2023).
                                                 25
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           a. Identify all connections to the computers where you store sensitive information.

           b. Assess the vulnerability of each connection to commonly known or reasonably
              foreseeable attacks.

           c. Do not store sensitive consumer data on any computer with an internet connection
              unless it is essential for conducting their business.

           d. Scan computers on their network to identify and profile the operating system and
              open network services. If services are not needed, they should be disabled to
              prevent hacks or other potential security problems. For example, if email service or
              an internet connection is not necessary on a certain computer, a business should
              consider closing the ports to those services on that computer to prevent
              unauthorized access to that machine.

           e. Pay particular attention to the security of their web applications—the software used
              to give information to visitors to their websites and to retrieve information from
              them. Web applications may be particularly vulnerable to a variety of hacker
              attacks.

           f. Use a firewall to protect their computers from hacker attacks while it is connected
              to a network, especially the internet.

           g. Determine whether a border firewall should be installed where the business’s
              network connects to the internet. A border firewall separates the network from the
              internet and may prevent an attacker from gaining access to a computer on the
              network where sensitive information is stored. Set access controls—settings that
              determine which devices and traffic get through the firewall—to allow only trusted
              devices with a legitimate business need to access the network. Since the protection
              a firewall provides is only as effective as its access controls, they should be
              reviewed periodically.

           h. Monitor incoming traffic for signs that someone is trying to hack in. Keep an eye
              out for activity from new users, multiple log-in attempts from unknown users or
              computers, and higher-than-average traffic at unusual times of the day.

           i. Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly large
              amounts of data being transmitted from their system to an unknown user. If large
              amounts of information are being transmitted from a business’ network, the
              transmission should be investigated to make sure it is authorized.

       110.   The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer information, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data as
                                               26
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an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act, 15 U.S.C.

§ 45. Orders resulting from these actions further clarify the measures businesses must take to meet

their data security obligations.28

        111.   Because Defendant was entrusted with PII and PHI, it had, and has, a duty to keep

the PII and PHI secure.

        112.   Plaintiff and Class Members reasonably expect that when their PII and PHI is

provided to a sophisticated business for a specific purpose, that business will safeguard their PII

and PHI and use it only for that purpose.

        113.   Nonetheless, Defendant failed to prevent the Data Breach. Had Defendant properly

maintained and adequately protected its systems, it could have prevented the Data Breach.

        114.   Other best cybersecurity practices that are standard include installing appropriate

malware detection software; monitoring and limiting the network ports; protecting web browsers

and email management systems; setting up network systems such as firewalls, switches and

routers; monitoring and protection of physical security systems; protection against any possible

communication system; and training staff regarding critical points.

        115.   Defendant failed to meet the minimum standards of some or all of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in




   28
       Federal Trade Commission, Privacy and Security Enforcement: Press Releases,
https://www.ftc.gov/news-events/media-resources/protecting-consumer-privacy/privacy-
security-enforcement.
                                                27
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reasonable cybersecurity readiness.

       116.    The foregoing frameworks are existing and applicable industry standards in the

software and data management/transfer industry, and Defendant failed to comply with these

accepted standards, thereby opening the door to and causing the Data Breach.

       117.    Upon information and belief, Defendant failed to comply with one or more of the

foregoing industry standards.

Defendant’s Negligent Acts and Breaches

       118.    Defendant participated and controlled the process of gathering the Private

Information from Plaintiff and Class Members.

       119.    Defendant therefore assumed and otherwise owed duties and obligations to Plaintiff

and Class Members to take reasonable measures to protect the information, including the duty of

oversight, training, instruction, and testing of the data security policies and network systems.

Defendant breached these obligations to Plaintiff and Class Members and/or was otherwise

negligent because it failed to properly implement data security systems and policies for its network

that would adequately safeguarded Plaintiff’s and Class Members’ Private Information. Upon

information and belief, Defendant’s unlawful conduct included, but is not limited to, one or more

of the following acts and/or omissions:

           a. Failing to design and maintain an adequate data security system to reduce the risk
              of data breaches and protect Plaintiff’s and Class Members Private Information;

           b. Failing to properly monitor its data security systems for data security vulnerabilities
              and risk;

           c. Failing to audit, test and assess the adequacy of its data security system;

           d. Failing to develop adequate training programs related to the proper handling of
              emails and email security practices;

           e. Failing to develop and implement uniform procedures and data security protections
                                             28
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               for its network;

           f. Failing to adequately fund and allocate resources for the adequate design, operation,
              maintenance, and updating necessary to meet industry standards for data security
              protection;

           g. Failing to ensure or otherwise require that it was compliant with FTC guidelines
              for cybersecurity;

           h. Failing to ensure or otherwise require that it was adhering to one or more of industry
              standards for cybersecurity discussed above;

           i. Failing to implement or update antivirus and malware protection software in need
              of security updating;

           j. Failing to require encryption or adequate encryption on its data systems; and

           k. Otherwise negligently and unlawfully failing to safeguard Plaintiff’s and Class
              Members’ Private Information provided to Defendant, which in turn allowed
              cyberthieves to access its IT systems.

HIPAA Standards and Violations

       120.    In addition to failing to follow universal data security practices, Defendant failed

to follow healthcare industry standard security practices, including:

           a. Failing to protect against any reasonably anticipated threats or hazards to the
              security or integrity of electronic PHI in violation of 45 C.F.R. 164.306(a)(2);

           b. Failing to ensure compliance with HIPAA security standards by their workforce or
              agents in violation of 45 C.F.R 164.306(a)(94);

           c. Failing to effectively train all members of its workforce and its agents on the
              policies and procedures with respect to PHI as necessary to maintain the security
              of PHI in violation of C.F.R. 164.530(b) and 45 C.F.R. 164.308(a)(5); and

           d. Failing to design and implement and enforce policies and procedures to establish
              administrative safeguards to reasonably safeguard PHI in compliance with 45
              C.F.R. 164.530(c).

                             COMMON INJURIES & DAMAGES

       121.    As a result of Defendant’s ineffective and inadequate data security practices,

Plaintiff and Class Members now face a present and ongoing risk of fraud and identity theft.
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        122.    Due to the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to Plaintiff and Class Members

has materialized and is imminent, and Plaintiff and Class Members have all sustained actual

injuries and damages, including: (i) invasion of privacy; (ii) “out of pocket” costs incurred

mitigating the materialized risk and imminent threat of identity theft; (iii) loss of time and loss of

productivity incurred mitigating the materialized risk and imminent threat of identity theft risk;

(iv) “out of pocket” costs incurred due to actual identity theft; (v) loss of time incurred due to

actual identity theft; (vi) loss of time due to increased spam and targeted marketing emails; (vii)

diminution of value of their Private Information; and (viii) the continued risk to their Private

Information, which remains in Defendant’s control, and which is subject to further breaches, so

long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s and

Class Members’ Private Information.

The Risk of Identity Theft to Plaintiff and Class Members Is Present and Ongoing

        123.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

        124.    Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity—or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        125.    For example, armed with just a name and date of birth, a data thief can utilize a

                                                  30
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hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data breaches are

often the starting point for these additional targeted attacks on the victims.

         126.   The dark web is an unindexed layer of the internet that requires special software or

authentication to access.29 Criminals in particular favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, dark web

users need to know the web address of the website they wish to visit in advance. For example, on

the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion.30 This prevents dark web

marketplaces from being easily monitored by authorities or accessed by those not in the know.

         127.   A sophisticated black market exists on the dark web where criminals can buy or

sell malware, firearms, drugs, and frequently, personal information like the PII and PHI at issue

here.31 The digital character of PII and PHI stolen in data breaches lends itself to dark web

transactions because it is immediately transmissible over the internet and the buyer and seller can

retain their anonymity. The sale of a firearm or drugs on the other hand requires a physical delivery




   29
       What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/. (last accessed June 22, 2023).
   30
        Id.
   31
       What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web/ (last accessed June 22,
2023).
                                                 31
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address. Nefarious actors can readily purchase usernames and passwords for online streaming

services, stolen financial information and account login credentials, and Social Security numbers,

dates of birth, and medical information.32 As Microsoft warns “[t]he anonymity of the dark web

lends itself well to those who would seek to do financial harm to others.”33

        128.   Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to numerous serious fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the loss of

an individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

               A dishonest person who has your Social Security number can use it
               to get other personal information about you. Identity thieves can use
               your number and your good credit to apply for more credit in your
               name. Then, they use the credit cards and don’t pay the bills, it
               damages your credit. You may not find out that someone is using
               your number until you’re turned down for credit, or you begin to get
               calls from unknown creditors demanding payment for items you
               never bought. Someone illegally using your Social Security number
               and assuming your identity can cause a lot of problems.34

        129.   Moreover, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,



   32
      Id.; What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/. (last accessed June 22, 2023).
   33
       What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web (last accessed June 22,
2023).
   34
       Social Security Administration, Identity Theft and Your Social Security Number, available
at: https://www.ssa.gov/pubs/EN-05-10064.pdf. (last accessed June 22, 2023).
                                                 32
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ongoing fraud activity to obtain a new number.35

         130.     Even then, a new Social Security number may not be effective, as “[t]he credit

bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.”36

         131.     Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name. And the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines.37

         132.     According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims.38

         133.     Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good.”39 Defendant did not rapidly


   35
        See id.
   36
      Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft (last visited June 22, 2023).
   37
       Identity Theft and Your Social Security Number, Social Security Administration, 1 (2018),
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited June 22, 2023).
   38
       See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120 (last
accessed June 22, 2023).
   39
        Id.
                                                   33
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report to Plaintiff and the Class that their Private Information had been stolen.

         134.   Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

         135.   In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims have to spend a considerable time repairing the

damage caused by the theft of their PII and PHI. Victims of new account identity theft will likely

have to spend time correcting fraudulent information in their credit reports and continuously

monitor their reports for future inaccuracies, close existing bank/credit accounts, open new ones,

and dispute charges with creditors.

         136.   Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen PII and PHI. To protect themselves, Plaintiff and

Class Members will need to remain vigilant against unauthorized data use for years or even

decades to come.

         137.   The FTC has also recognized that consumer data is a new and valuable form of

currency. In an FTC roundtable presentation, former Commissioner Pamela Jones Harbour stated

that “most consumers cannot begin to comprehend the types and amount of information collected

by businesses, or why their information may be commercially valuable. Data is currency. The

larger the data set, the greater potential for analysis and profit.”40

         138.   The FTC has also issued numerous guidelines for businesses that highlight the




    40
      Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring
Privacy Roundtable), http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last
accessed June 22, 2023).
                                                   34
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importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires: (i)

encrypting information stored on computer networks; (ii) retaining payment card information only

as long as necessary; (iii) properly disposing of personal information that is no longer needed; (iv)

limiting administrative access to business systems; (v) using industry-tested and accepted methods

for securing data; (vi) monitoring activity on networks to uncover unapproved activity; (vii)

verifying that privacy and security features function properly; (viii) testing for common

vulnerabilities; and (ix) updating and patching third-party software.41

        139.   Defendant’s failure to properly notify Plaintiff and Class Members of the Data

Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their PII and PHI and take other necessary steps to mitigate

the harm caused by the Data Breach.

Loss of Time to Mitigate the Risk of Identify Theft and Fraud

        140.   As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their Private Information was compromised, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

        141.   Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting


   41
        See generally https://www.ftc.gov/business-guidance/resources/protecting-personal-
information-guide-business. (last accessed June 22, 2023).
                                                 35
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agencies, contacting financial institutions, closing or modifying financial accounts, changing

passwords, filing police reports, and reviewing and monitoring credit reports and accounts for

unauthorized activity which may take years to discover and detect.

         142.   These mitigation efforts are consistent with the U.S. Government Accountability

Office that released a report in 2007 regarding data breaches (“GAO Report”) in which it noted

that victims of identity theft will face “substantial costs and time to repair the damage to their good

name and credit record.”42

         143.   These mitigation efforts are also consistent with the steps that FTC recommends

that data breach victims take to protect their personal and financial information after a data breach,

including: contacting one of the credit bureaus to place a fraud alert (and consider an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports.43

         144.   In the event that Plaintiff and Class Members experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007 regarding

data breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record.”44 Indeed, the FTC



    42
      See United States Government Accountability Office, GAO-07-737, Personal Information:
Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the
Full Extent Is Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf. (last accessed
June 22, 2023).
    43
     See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last
accessed June 22, 2023).
    44
       See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last accessed June 22, 2023) (“GAO Report”).
                                                   36
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recommends that identity theft victims take several steps and spend time to protect their personal

and financial information after a data breach, including contacting one of the credit bureaus to

place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone steals their

identity), reviewing their credit reports, contacting companies to remove fraudulent charges from

their accounts, placing a credit freeze on their credit, and correcting their credit reports.45

Diminution of Value of the Private Information

          145.   PII and PHI is a valuable property right.46 Its value is axiomatic, considering the

value of Big Data in corporate America and the fact that the consequences of cyber thefts include

heavy prison sentences. This obvious risk to reward analysis illustrates beyond doubt that Private

Information has considerable market value.

          146.   An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion.47 In fact, the data marketplace

is so sophisticated that consumers can actually sell their non-public information directly to a data

broker who in turn aggregates the information and provides it to marketers or app developers.48,

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50.00 a year.49


    45
         See https://www.identitytheft.gov/Steps (last accessed June 22, 2023).
    46
       See, e.g., John T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally
Identifiable Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11,
at *3-4 (2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly
reaching a level comparable to the value of traditional financial assets.”) (citations omitted) (last
accessed June 22, 2023).
    47
       https://www.latimes.com/business/story/2019-11-05/column-data-brokers (last accessed
June 22, 2023).
    48
         https://datacoup.com/ (last accessed June 22, 2023).
    49
        Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html. (last accessed June 22, 2023).
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       147.    As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished in its value by its unauthorized and potential release onto the Dark Web, where it may

soon be available and holds significant value for the threat actors.

Future Cost of Credit and Identify Theft Monitoring Is Reasonable and Necessary

       148.    To date, Defendant has done little to provide Plaintiff and Class Members with

relief for the damages they have suffered because of the Data Breach despite Plaintiff and Class

Members being at risk of identity theft and fraud for the foreseeable future.

       149.    Given the type of targeted attack in this case and sophisticated criminal activity,

the type of Private Information (e.g. Social Security numbers), and the modus operandi of

cybercriminals, there is a strong probability that entire batches of stolen information have been

placed, or will be placed, on the black market/dark web for sale and purchase by criminals

intending to utilize the Private Information for identity theft crimes—e.g., opening bank accounts

in the victims’ names to make purchases or to launder money; file false tax returns; take out loans

or lines of credit; or file false unemployment claims.

       150.    It must be noted there may be a substantial time lag—measured in years and

perhaps decades—between when harm occurs versus when it is discovered, and between when

Private Information and/or financial information is stolen and when it is used. According to the

U.S. Government Accountability Office, which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be
       held for up to a year or more before being used to commit identity theft.
       Further, once stolen data have been sold or posted on the Web, fraudulent
       use of that information may continue for years. As a result, studies that
       attempt to measure the harm resulting from data breaches cannot necessarily
       rule out all future harm.

See GAO Report, at 29.
                                                 38
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         151.   Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that their Social Security Number was used to file for

unemployment benefits until law enforcement notifies the individual’s employer of the suspected

fraud. Fraudulent tax returns are typically discovered only when an individual’s authentic tax

return is rejected.

         152.   Furthermore, the information accessed and disseminated in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach, where victims can easily cancel or close credit and debit card accounts.50 The information

disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change

(such as Social Security numbers).

         153.   Consequently, Plaintiff and Class Members are at a present and ongoing risk of

fraud and identity theft for their entire lives—not just the five years of credit monitoring being

offered by UMass Chan.

         154.   The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to protect Class Members

from the risk of identity theft that arose from Defendant’s Data Breach. This is a recurring future

cost that Plaintiff and Class Members would not need to bear but for Defendant’s failure to

safeguard their Private Information.

Injunctive Relief Is Necessary to Protect Against Future Data Breaches

         155.   Moreover, Plaintiff and Class Members have an interest in ensuring that their


    50
      See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report
Finds, FORBES (Mar. 25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-
social-security-number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1     (last
accessed June 22, 2023).
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Private Information, which is believed to remain in the control of Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is not

accessible online and that access to such data is password protected.

                              CLASS ACTION ALLEGATIONS

       156.    Plaintiff brings this nationwide class action on behalf of herself and on behalf of

others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

Civil Procedure.

       157.    The “Nationwide Class” that Plaintiff seeks to represent is defined as follows:

               All persons whose Private Information was accessed or acquired
               during the Data Breach as a result of the exploitation of Progress
               Software Corporation’s MOVEit Application vulnerability (the
               “Class”).

The “Massachusetts Subclass” is defined as follows:

               All residents of Massachusetts whose Private Information was
               accessed or acquired during the Data Breach as a result of the
               exploitation of Progress Software Corporation’s MOVEit
               Application vulnerability (the “Massachusetts Subclass”).


       158.    Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       159.    Plaintiff reserves the right to modify or amend the definition of the proposed class
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before the Court determines whether certification is appropriate.

       160.    Numerosity, Fed. R. Civ. P. 23(a)(1): Class Members are so numerous that joinder

of all members is impracticable. Upon information and belief, there are millions of individuals

whose Private Information may have been improperly accessed in the Data Breach, and the Class

is readily identifiable within Defendant’s records.

       161.    Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Class exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendant had a duty to protect the Private Information
            of Plaintiff and Class Members;

         b. Whether Defendant had a duty not to disclose the Private Information of Plaintiff and
            Class Members to unauthorized third parties;

         c. Whether Defendant had a duty not to use the Private Information of Plaintiff and
            Class Members for non-business purposes;

         d. Whether Defendant failed to adequately safeguard the Private Information of Plaintiff
            and Class Members;

         e. Whether and when Defendant actually learned of the Data Breach;

         f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and
            Class Members that their PII and PHI had been compromised;

         g. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class
            Members that their PII and PHI had been compromised;

         h. Whether Defendant failed to implement and maintain reasonable security procedures
            and practices appropriate to the nature and scope of the information compromised in
            the Data Breach;

         i. Whether Defendant adequately addressed and fixed the vulnerabilities which
            permitted the Data Breach to occur;

         j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to
            safeguard the Private Information of Plaintiff and Class Members;

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         k. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or
            nominal damages as a result of Defendant’s wrongful conduct;

         l. Whether Plaintiff and Class Members are entitled to restitution as a result of
            Defendant’s wrongful conduct; and

         m. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the
            imminent and currently ongoing harm faced as a result of the Data Breach.

       162.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their Private Information compromised as a result of the Data

Breach, due to Defendant’s misfeasance.

       163.    Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’ data was maintained

and unlawfully accessed in the same way. The common issues arising from Defendant’s conduct

affecting Class Members set out above predominate over any individualized issues. Adjudication

of these common issues in a single action has important and desirable advantages of judicial

economy. Defendant’s policies challenged herein apply to and affect Class Members uniformly

and Plaintiff’s challenge of these policies hinges on Defendant’s conduct with respect to the Class

as a whole, not on facts or law applicable only to Plaintiff.

       164.    Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and

adequately represent and protect the interests of the Class Members in that Plaintiff has no

disabling conflicts of interest that would be antagonistic to those of the other Members of the Class.

Plaintiff seeks no relief that is antagonistic or adverse to the Members of the Class and the

infringement of the rights and the damages Plaintiff has suffered are typical of other Class

Members. Plaintiff has also retained counsel experienced in complex class action litigation, and

Plaintiff intends to prosecute this action vigorously.

       165.    Superiority, Fed. R. Civ. P. 23(b)(3): Class litigation is an appropriate method for
                                                42
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fair and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendant. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

        166.    The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

limited resources of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be recovered; proof

of a common course of conduct to which Plaintiff was exposed is representative of that experienced

by the Class and will establish the right of each Class Member to recover on the cause of action

alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

and duplicative of this litigation.

        167.    The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, including their privacy policy, uniform methods of data collection, the consistent

provisions of the relevant laws, and the ascertainable identities of Class Members demonstrates

that there would be no significant manageability problems with prosecuting this lawsuit as a class

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action.

          168.   Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

          169.   Unless a Class-wide injunction is issued, Defendant may continue its failure to

properly secure the Private Information of Class Members, Defendant may continue to refuse to

provide proper notification to Class Members regarding the Data Breach, and Defendant may

continue to act unlawfully as set forth herein.

          170.   Further, Defendant has acted or refused to act on grounds generally applicable to

the Class and, accordingly, class certification, injunctive relief, and corresponding declaratory

relief are appropriate on a Class-wide basis.

          171.   Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

             a. Whether Defendant owed a legal duty to Plaintiff and Class Members to exercise
                due care in obtaining, storing, collecting, maintaining, using, and/or safeguarding
                their Private Information;

             b. Whether Defendant breached a legal duty to Plaintiff and Class Members to
                exercise due care in obtaining, storing, collecting, maintaining, using, and/or
                safeguarding their Private Information;

             c. Whether Defendant failed to comply with its own policies and applicable laws,
                regulations, and industry standards relating to data security;

             d. Whether Defendant adequately and accurately informed Plaintiff and Class
                Members that their Private Information had been compromised;

             e. Whether Defendant failed to implement and maintain reasonable security
                procedures and practices appropriate to the nature and scope of the information
                compromised in the Data Breach;

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           f. Whether Defendant’s data security practices related to its MOVEit Application
              prior to and during the Data Breach complied with applicable data security laws
              and regulations;

           g. Whether Defendant’s data security practices related to its MOVEit Application
              prior to and during the Data Breach were consistent with industry standards;

           h. Whether hackers obtained Class Members’ Private Information via the Data
              Breach;

           i. Whether Defendant breached its duty to provide timely and accurate notice of the
              Data Breach to Plaintiff and Class Members; and

           j. Whether Class Members are entitled to actual, consequential, and/or nominal
              damages, and/or injunctive relief as a result of Defendant’s wrongful conduct.

                                       CAUSES OF ACTION

                                             COUNT I
                                          NEGLIGENCE
                (On Behalf of Plaintiff and All Class Members Against Defendant)

       172.      Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       173.      Defendant knowingly collected, acquired, stored, and/or maintained Plaintiff’s and

Class Members’ Private Information, and had a duty to exercise reasonable care in safeguarding,

securing, and protecting the Private Information from being disclosed, compromised, lost, stolen,

and misused by unauthorized parties.

       174.      The duty included obligations to take reasonable steps to prevent disclosure of the

Private Information, and to safeguard the information from theft. Defendant’s duties included the

responsibility to design, implement, test, and monitor data security systems, policies, and processes

to protect against reasonably foreseeable data breaches such as this Data Breach.

       175.      Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

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that its systems and networks, policies, and procedures, and the personnel responsible for them,

adequately protected the Private Information.

          176.   Defendant owed a duty of care to safeguard the Private Information due to the

foreseeable risk of a data breach and the severe consequences that would result from its failure to

so safeguard the Private Information.

          177.   Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and those individuals who entrusted it with

their PII and PHI, which is recognized by laws and regulations including but not limited the FTC

Act, as well as common law. Defendant was in a position to ensure that its systems were sufficient

to protect against the foreseeable risk of harm to Class Members from a data breach.

          178.   In addition, Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

          179.   Defendant’s duty to use reasonable care in protecting Private Information arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect Private Information that it either acquires, maintains, or

stores.

          180.   Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Plaintiff’s and Class Members’ Private Information, as alleged and discussed

above.

          181.   It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Plaintiff and Class Members.

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Further, the breach of security was reasonably foreseeable given the known high frequency of

cyberattacks and data breaches in the data transfer and storage industry.

        182.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.

        183.    The imposition of a duty of care on Defendant to safeguard the Private Information

it maintained is appropriate because any social utility of Defendant’s conduct is outweighed by the

injuries suffered by Plaintiff and Class Members as a result of the Data Breach.

        184.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained compensatory damages including: (i) invasion of privacy; (ii) financial “out of pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (iii) loss of

time and loss of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (iv) financial “out of pocket” costs incurred due to actual identity theft; (v) loss

of time incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted

marketing emails; (vii) diminution of value of their Private Information; (viii) future costs of

identity theft monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to their

Private Information, which remains in Defendant’s control, and which is subject to further

breaches, so long as Defendant fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

        185.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        186.    Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and unsecure manner.

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       187.      Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                            COUNT II
                  BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
                (On Behalf of Plaintiff and All Class Members Against Defendant)

       188.      Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       189.      Upon information and belief, PSC entered into contracts with its government,

educational, non-profit, and corporate customers, including EOHHS, to provide secure file transfer

services to them; services that included data security practices, procedures, and protocols sufficient

to safeguard the Private Information that was entrusted to it.

       190.      Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their Private Information that Defendant agreed to receive, store, utilize, transfer, and protect

through its services. Thus, the benefit of collection and protection of the Private Information

belonging to Plaintiff and the Class was the direct and primary objective of the contracting parties

and Plaintiff and Class Members were direct and express beneficiaries of such contracts.

       191.      Defendant knew or should have known that if it were to breach these contracts with

its customers, Plaintiff and Class Members would be harmed.

       192.      Defendant breached its contracts with customers by, among other things, failing to

adequately secure Plaintiff and Class Members’ Private Information, and, as a result, Plaintiff and

Class Members were harmed by Defendant’s failure to secure their Private Information.

       193.      As a direct and proximate result of Defendant’s breach, Plaintiff and Class

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Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained incidental and consequential damages including: (i) financial “out of pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (ii) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (iii) financial “out of pocket” costs incurred due to actual identity theft; (iv) loss of time

incurred due to actual identity theft; (v) loss of time due to increased spam and targeted marketing

emails; (vi) diminution of value of their Private Information; (vii) future costs of identity theft

monitoring; (viii) and the continued risk to their Private Information, which remains in

Defendant’s control, and which is subject to further breaches, so long as Defendant fails to

undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

       194.      Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       195.      Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                            COUNT III
                                     NEGLIGENCE PER SE
                (On Behalf of Plaintiff and All Class Members Against Defendant)

       196.      Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       197.      Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendant had a duty to

provide fair and adequate computer systems and data security practices to safeguard Plaintiff’s and

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Class Members’ Private Information.

        198.    Defendant breached its duty to Plaintiff and Class Members under the FTC Act by

failing to provide fair, reasonable, or adequate computer systems and data security practices to

safeguard Plaintiff’s and Class Members’ Private Information.

        199.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

        200.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

        201.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

it was failing to meet its duties, and that Defendant’s breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

        202.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained compensatory damages including: (i) invasion of privacy; (ii) financial “out of pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (iii) loss of

time and loss of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (iv) financial “out of pocket” costs incurred due to actual identity theft; (v) loss

of time incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted

marketing emails; (vii) diminution of value of their Private Information; (viii) future costs of

identity theft monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to their

Private Information, which remains in Defendant’s control, and which is subject to further

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breaches, so long as Defendant fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

       203.    Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       204.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                          COUNT IV
                                  UNJUST ENRICHMENT
              (On Behalf of Plaintiff and All Class Members Against Defendant)

       205.    Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein, except Count IV is pleaded in the alternative to Count II.

       206.    Plaintiff and Class Members conferred a monetary benefit on PSC by providing

Defendant with their valuable Private Information.

       207.    Defendant enriched itself by saving the costs it reasonably should have expended

on data security measures to secure Plaintiff’s and Class Members’ Private Information, which

cost savings increased the profitability of the services.

       208.    Upon information and belief, instead of providing a reasonable level of security

that would have prevented the Data Breach, Defendant instead calculated to avoid its data security

obligations at the expense of Plaintiff and Class Members by utilizing cheaper, ineffective security

measures. Plaintiff and Class Members, on the other hand, suffered as a direct and proximate result

of Defendant’s failure to provide the requisite security.

       209.    Under the principles of equity and good conscience, Defendant should not be

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permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendant failed to implement appropriate data management and security measures that

are mandated by industry standards.

        210.    Defendant acquired the monetary benefit, PII and PHI, through inequitable means

in that it failed to disclose the inadequate security practices previously alleged.

        211.    Had Plaintiff and Class Members known that Defendant had not secured their PII

and PHI, they would not have agreed to provide their PII and PHI to Defendant. Plaintiff and Class

Members have no adequate remedy at law.

        212.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        213.    Furthermore, as a direct and proximate result of Defendant’s unreasonable and

inadequate data security practices, Plaintiff and Class Members are at a current and ongoing risk

of identity theft and have sustained incidental and consequential damages, including: (i) financial

“out of pocket” costs incurred mitigating the materialized risk and imminent threat of identity theft;

(ii) loss of time and loss of productivity incurred mitigating the materialized risk and imminent

threat of identity theft risk; (iii) financial “out of pocket” costs incurred due to actual identity theft;

(iv) loss of time incurred due to actual identity theft; (v) loss of time due to increased spam and

targeted marketing emails; (vi) diminution of value of their Private Information; (vii) future costs

of identity theft monitoring; and (viii) the continued risk to their Private Information, which

remains in Defendant’s control, and which is subject to further breaches, so long as Defendant fails

to undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

        214.    Plaintiff and Class Members are entitled to compensatory, consequential, and

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nominal damages suffered as a result of the Data Breach.

          215.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

          216.   Moreover, Defendant should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly received

from them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff

and Class Members overpaid for Defendant’s services.

                                         COUNT V
        VIOLATION OF MASSACHUSETTS GENERAL LAWS, CHAPTER 93A
      (On Behalf of Plaintiff and the Nationwide Class and the Massachusetts Subclass
                                      Against Defendant)

          217.   Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

          218.   Plaintiff brings this claim against PSC on behalf of the Nationwide Class and the

Massachusetts Subclass.

          219.   M.G.L. ch. 93A §§ 2 and 9. M.G.L. ch. 93A § 2 provides that “[u]nfair methods

of competition and unfair or deceptive acts or practices in the conduct of any trade or commerce

are hereby declared unlawful.” M.G.L. ch. 93A § 9 permits any consumer injured by a violation

of M.G.L. ch. 93A § 2 to bring a civil action, including a class action, for damages and injunctive

relief.

          220.   Plaintiff alleges that Defendant PSC committed unfair business acts and/or

practices in violation of M.G.L. ch. 93A §§ 2 and 9.

          221.   Defendant PSC knew or should have known of the inherent risks in experiencing a
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data breach if they failed to maintain adequate systems and processes for keeping Plaintiff’s and

Class members’ Personal Information safe and secure. Only Defendant PSC was in a position to

ensure that its systems were sufficient to protect against harm to Plaintiff and the Class resulting

from a data security incident such as the Data Breach; instead, it failed to implement such

safeguards.

        222.      Defendant PSC’s own conduct also created a foreseeable risk of harm to Plaintiff

and Class members and their Personal Information. Defendant PSC’s misconduct included failing

to adopt, implement, and maintain the systems, policies, and procedures necessary to prevent the

Data Breach.

        223.      Defendant PSC acknowledges its conduct created actual harm to Plaintiff and Class

members because Defendant instructed them to monitor their accounts for fraudulent conduct and

identity theft.

        224.      Defendant knew, or should have known, of the risks inherent in disclosing,

collecting, storing, accessing, and transmitting Personal Information and the importance of

adequate security because of, inter alia, the prevalence of data breaches.

        225.      Defendant PSC failed to adopt, implement, and maintain fair, reasonable, or

adequate security measures to safeguard Plaintiff’s and Class members’ Personal Information,

failed to recognize in a timely manner the Data Breach, and failed to notify Plaintiff and Class

members in a timely manner that their Personal Information was accessed in the Data Breach.

        226.      These acts and practices are unfair in material respects, offend public policy, are

immoral, unethical, oppressive and unscrupulous and violate 201 CMR 17.00 and M.G.L. ch. 93A

§ 2.

        227.      As a direct and proximate result of Defendant PSC’s unfair acts and practices,

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Plaintiff and the Class have suffered injury and/or will suffer injury and damages, including but

not limited to: (i) the loss of the opportunity to determine for themselves how their Personal

Information is used; (ii) the publication and/or fraudulent use of their Personal Information;

(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from

unauthorized use of their Personal Information; (iv) lost opportunity costs associated with effort

expended and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of Defendant’s Data Breach, including but not limited to efforts spent researching

how to prevent, detect, contest and recover from unemployment and/or tax fraud and identity theft;

(v) costs associated with placing freezes on credit reports; (vi) anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses; (vii) the continued risk to their Personal

Information, which remains in Defendant’s possession (and/or to which Defendant continues to

have access) and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the Personal Information in their

continued possession; and (viii) future costs in terms of time, effort and money that will be

expended to prevent, detect, contest, and repair the inevitable and continuing consequences of

disclosed Personal Information.

       228.    Neither Plaintiff nor the other Class members contributed to Defendant’s Data

Breach.

       229.    Plaintiff sent a demand for relief, in writing, to Defendant on May 28, 2024, prior

to filing this complaint. Multiple plaintiffs in consolidated actions have sent51—or alleged in their


51
   See, e.g., Ghalem, et al. v. Progress Software Co., et al., 23-cv-12300 (D. Mass.), at ECF No.
1, ¶ 213 (“A demand identifying the claimant and reasonably describing the unfair or deceptive
act or practice relied upon and the injury suffered was mailed or delivered to Defendants at least
thirty days prior to the filing of a pleading alleging this claim for relief”).

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complaints that they would send52—similar demand letters as required by M.G.L. ch. 93A § 9.

Plaintiff has not received a written tender of settlement that is reasonable in relation to the injury

actually suffered by Plaintiff and the Class.

         230.   Based on the foregoing, Plaintiff and the other members of the class are entitled to

all remedies available pursuant to M.G.L ch. 93A, including, but not limited to, refunds, actual

damages, or statutory damages in the amount of twenty-five dollars per violation, whichever is

greater, double or treble damages, attorneys’ fees and other reasonable costs.

         231.   Pursuant to M.G.L. ch. 231, § 6B, Plaintiff and other members of the Class are

further entitled to pre-judgment interest as a direct and proximate result of Defendant’s wrongful

conduct. The amount of damages suffered as a result is a sum certain and capable of calculation

and Plaintiff and other members of the Class are entitled to interest in an amount according to

proof.

                                           COUNT VI
                        Invasion of Privacy (Intrusion Upon Seclusion)
            (Brought by Plaintiff individually and on behalf of the Nationwide Class)




52
   In all of the following cases (among others), plaintiffs indicated that they were going to send
similar demand letters: Allen, et al. v. Progress Software Corp., 23-cv-11984 (D. Mass.); Anastasio
v. Progress Software Corp., et al., 23-cv-11442 (D. Mass.); Arden v. Progress Software Corp., et
al., 23-cv-12015 (D. Mass.); Boaden v. Progress Software Corp., et al., 23-cv-12192 (D. Mass.);
Brida v. Progress Software Corp., et al., 23-cv-12202 (D. Mass.); Casey v. Progress Software
Corp., et al., 23-cv-11864 (D. Mass.); Constantine v. Progress Software Corp., et al., 23-cv-12836
(D. Mass.); Daniels v. Progress Software Corp., et al., 23-cv-12010 (D. Mass.); Doe v. Progress
Software Corp., et al., 23-cv-1933 (D. Md.); Ghalem, et al. v. Progress Software Co., et al., 23-
cv-12300 (D. Mass.); Kennedy v. Progress Software Corp., et al., 23-cv-12275 (D. Mass.); Kurtz
v. Progress Software Corp., et al., 23-cv-12156 (D. Mass.); McDaniel, et al. v. Progress Software
Corp., et al., 23-cv-11939 (D. Mass.); Pilotti-Iulo v. Progress Software Corp., et al., 23-cv-12157
(D. Mass.); Pulignani v. Progress Software Corp., et al., 23-cv-1912 (D. Md.); Siflinger, et al. v.
Progress Software Corp., et al., 23-cv-11782 (D. Mass.); Tenner v. Progress Software Corp., 23-
cv-11412 (D. Mass.); Truesdale v. Progress Software Corp., et al., 23-cv-1913 (D. Md.).

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        232.    Plaintiff realleges and incorporates by reference the preceding paragraphs as if fully

set forth herein.

        233.    To assert claims for intrusion upon seclusion, one must plead: (1) that the defendant

intentionally intruded into a matter as to which plaintiff had a reasonable expectation of privacy;

and (2) that the intrusion was highly offensive to a reasonable person.

        234.    Defendant intentionally intruded upon the solitude, seclusion and private affairs of

Plaintiff and Class members by intentionally configuring their systems in such a way that left them

vulnerable to malware/ransomware attack, thus permitting unauthorized access to their systems,

which compromised Plaintiff’s and Class members’ personal information.

        235.    Defendant’s conduct is especially egregious and offensive as they failed to have

adequate security measures in place to prevent, track, or detect in a timely fashion unauthorized

access to Plaintiff’s and Class members’ personal information.

        236.    At all times, Defendant was aware that Plaintiff’s and Class members’ personal

information in their possession contained highly sensitive and confidential personal information.

        237.    Plaintiff and Class members have a reasonable expectation of privacy in their

personal information, which also contains highly sensitive medical information.

        238.    Defendant intentionally configured its systems in such a way that stored Plaintiff’s

and Class members’ personal information to be left vulnerable to malware/ransomware attack,

without regard for Plaintiff’s and Class members’ privacy interests.

        239.    The disclosure of the sensitive and confidential personal information of thousands

of consumers was highly offensive to Plaintiff and Class members because it violated expectations

of privacy that have been established by general social norms, including by granting access to

information and data that is private and would not otherwise be disclosed.

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        240.    Defendant’s conduct would be highly offensive to a reasonable person in that it

violated statutory and regulatory protections designed to protect highly sensitive information, in

addition to social norms. Defendant’s conduct would be especially egregious to a reasonable

person as Defendant publicly disclosed Plaintiff’s and Class members’ sensitive and confidential

personal information without their consent, to an “unauthorized person,” i.e., hackers.

        241.    As a result of Defendant’s actions, Plaintiff and Class members have suffered harm

and injury, including but not limited to, an invasion of their privacy rights.

        242.    Plaintiff and Class members have been damaged as a direct and proximate result of

Defendant’s intrusion upon seclusion and are entitled to just compensation.

        243.    Plaintiff and Class members are entitled to appropriate relief, including

compensatory damages for the harm to their privacy, loss of valuable rights and protections, and

heightened stress, fear, anxiety and risk of future invasions of privacy.

                                          COUNT VII
                    Invasion of Privacy (Public Disclosure of Private Facts)
            (Brought by Plaintiff individually and on behalf of the Nationwide Class)

        244.    Plaintiff realleges and incorporates by reference the preceding paragraphs as if fully

set forth herein.

        245.    Plaintiff and Class members had a reasonable expectation of privacy in the Personal

Information Defendant mishandled.

        246.    As a result of Defendant’s conduct, publicity was given to Plaintiff’s and Class

members’ Personal Information, which necessarily includes matters concerning their private life.

        247.    A reasonable person of ordinary sensibilities would consider the publication of

Plaintiff’s and Class members’ Personal Information to be highly offensive.

        248.    Plaintiff’s and Class members’ Personal Information is not of legitimate public
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concern and should remain private.

       249.     As a direct and proximate result of Defendant’s public disclosure of private facts,

Plaintiff and Class members are at a current and ongoing risk of identity theft and sustained

compensatory damages including: (a) invasion of privacy; (b) financial “out of pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (c) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (d) financial “out of pocket” costs incurred due to actual identity theft; (e) loss of time

incurred due to actual identity theft; (f) loss of time due to increased spam and targeted marketing

emails; (g) diminution of value of their Personal Information; (h) future costs of identity theft

monitoring; (i) anxiety, annoyance and nuisance, and (j) the continued risk to their Personal

Information, which remains in Defendant’s possession, and which is subject to further breaches,

so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

and Class members’ Personal Information.

       250.     Plaintiff and Class members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       251.     Plaintiff and Class members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class members.

                                        COUNT VIII
                      DECLARATORY AND INJUNCTIVE RELIEF
            (Brought by Plaintiff individually and on behalf of the Nationwide Class)

       252.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

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       253.      Plaintiff pursues this claim under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201.

       254.      Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and granting

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal statutes described in this Complaint.

          255.   An actual controversy has arisen in the wake of the Data Breach regarding

Defendant’s present and prospective common law and other duties to reasonably safeguard

Plaintiff’s and Class Members’ Private Information, and whether Defendant is currently

maintaining data security measures adequate to protect Plaintiff and Class Members from future

data breaches that compromise their Private Information. Plaintiff and the Class remain at

imminent risk that further compromises of their Private Information will occur in the future.

          256.   The Court should also issue prospective injunctive relief requiring Defendant to

employ adequate security practices consistent with law and industry standards to protect Plaintiff’s

and Class Members’ Private Information.

          257.   Defendant still controls the Private Information of Plaintiff and the Class Members.

          258.   To Plaintiff’s knowledge, Defendant has made no announcement that it has

changed its data or security practices relating to the Private Information.

          259.   To Plaintiff’s knowledge, Defendant has made no announcement or notification

that it has remedied the vulnerabilities and negligent data security practices that led to the Data

Breach.

       260.      If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

and lack an adequate legal remedy in the event of another data breach at PSC. The risk of another

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such breach is real, immediate, and substantial.

       261.    As described above, actual harm has arisen in the wake of the Data Breach

regarding Defendant’s contractual obligations and duties of care to provide security measures to

Plaintiff and Class Members. Further, Plaintiff and Class members are at risk of additional or

further harm due to the exposure of their Private Information and Defendant’s failure to address

the security failings that led to such exposure.

       262.    There is no reason to believe that Defendant’s employee training and security

measures are any more adequate now than they were before the breach to meet Defendant’s

contractual obligations and legal duties.

       263.    The hardship to Plaintiff and Class Members if an injunction does not issue exceeds

the hardship to Defendant if an injunction is issued. Among other things, if another data breach

occurs at PSC, Plaintiff and Class Members will likely continue to be subjected to fraud, identify

theft, and other harms described herein. On the other hand, the cost to Defendant of complying

with an injunction by employing reasonable prospective data security measures is relatively

minimal, and Defendant has a pre-existing legal obligation to employ such measures.

       264.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing another data breach PSC, thus

eliminating the additional injuries that would result to Plaintiff and Class.

       265.    Plaintiff and Class Members seek a declaration (i) that Defendant’s existing data

security measures do not comply with its contractual obligations and duties of care to provide

adequate data security; and (ii) that to comply with its contractual obligations and duties of care,

Defendant must implement and maintain reasonable security measures, including, but not limited

to, the following:

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         a. engage internal security personnel to conduct testing, including audits on Defendant’s
            systems, on a periodic basis, and promptly correct any problems or issues detected
            by such third-party security auditors;

         b. engage third-party security auditors and internal personnel to run automated security
            monitoring;

         c. audit, test, and train its security personnel and employees regarding any new or
            modified data security policies and procedures;

         d. purge, delete, and destroy, in a reasonably secure manner, any Private Information
            not necessary for its provision of services;

         e. conduct regular database scanning and security checks; and

         f. routinely and continually conduct internal training and education to inform internal
            security personnel and employees how to safely share and maintain highly sensitive
            personal information, including but not limited to, PII and PHI.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendant and that the Court grant the following:

       A.     For an Order certifying the Class, and appointing Plaintiff and her Counsel to

              represent the Class;

       B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

              complained of herein pertaining to the misuse and/or disclosure of the PII and PHI

              of Plaintiff and Class Members, and from refusing to issue prompt, complete, any

              accurate disclosures to Plaintiff and Class Members;

       C.     For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

              and other equitable relief as is necessary to protect the interests of Plaintiff and

              Class Members, including but not limited to an order:

              i.   prohibiting Defendant from engaging in the wrongful and unlawful acts


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             described herein;

       ii.   requiring Defendant to protect, including through encryption, all data collected

             through the course of its business in accordance with all applicable regulations,

             industry standards, and federal, state or local laws;

      iii.   requiring Defendant to delete, destroy, and purge the personal identifying

             information of Plaintiff and Class Members unless Defendant can provide to

             the Court reasonable justification for the retention and use of such information

             when weighed against the privacy interests of Plaintiff and Class Members;

      iv.    requiring Defendant to implement and maintain a comprehensive Information

             Security Program designed to protect the confidentiality and integrity of the PII

             and PHI of Plaintiff and Class Members;

       v.    requiring   Defendant      to    engage     independent    third-party   security

             auditors/penetration testers as well as internal security personnel to conduct

             testing, including simulated attacks, penetration tests, and audits on

             Defendant’s systems on a periodic basis, and ordering Defendant to promptly

             correct any problems or issues detected by such third-party security auditors;

      vi.    requiring Defendant to engage independent third-party security auditors and

             internal personnel to run automated security monitoring;

     vii.    requiring Defendant to audit, test, and train its security personnel regarding any

             new or modified procedures;

     viii.   requiring Defendant to segment data by, among other things, creating firewalls

             and access controls so that if one area of Defendant’s network is compromised,

             hackers cannot gain access to other portions of Defendant’s systems;

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      ix.    requiring Defendant to conduct regular database scanning and securing checks;

       x.    requiring Defendant to establish an information security training program that

             includes at least annual information security training for all employees, with

             additional training to be provided as appropriate based upon the employees’

             respective responsibilities with handling personal identifying information, as

             well as protecting the personal identifying information of Plaintiff and Class

             Members;

      xi.    requiring Defendant to routinely and continually conduct internal training and

             education, and on an annual basis to inform internal security personnel how to

             identify and contain a breach when it occurs and what to do in response to a

             breach;

     xii.    requiring Defendant to implement a system of tests to assess its respective

             employees’ knowledge of the education programs discussed in the preceding

             subparagraphs, as well as randomly and periodically testing employees

             compliance with Defendant’s policies, programs, and systems for protecting

             personal identifying information;

     xiii.   requiring Defendant to implement, maintain, regularly review, and revise as

             necessary a threat management program designed to appropriately monitor

             Defendant’s information networks for threats, both internal and external, and

             assess whether monitoring tools are appropriately configured, tested, and

             updated;

     xiv.    requiring Defendant to meaningfully educate all Class Members about the

             threats that they face as a result of the loss of their confidential personal

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                  identifying information to third parties, as well as the steps affected individuals

                  must take to protect themselves; and

            xv.   requiring Defendant to implement logging and monitoring programs sufficient

                  to track traffic to and from Defendant’s servers; and for a period of 10 years,

                  appointing a qualified and independent third-party assessor to conduct a SOC 2

                  Type 2 attestation on an annual basis to evaluate Defendant’s compliance with

                  the terms of the Court’s final judgment, to provide such report to the Court and

                  to counsel for the class, and to report any deficiencies with compliance of the

                  Court’s final judgment;

       D.     For an award of damages, including, but not limited to, actual, consequential, and

              nominal damages, as allowed by law in an amount to be determined;

       E.     For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

       F.     For prejudgment interest on all amounts awarded; and

       G.     Such other and further relief as this Court may deem just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands that this matter be tried before a jury.


Dates: June 7, 2024                          Respectfully Submitted,

                                             /s/ Kristen A. Johnson
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.


Dated: June 7, 2024                                  /s/ Kristen A. Johnson
                                                     Kristen A. Johnson




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